   Case: 1:18-cr-00696 Document #: 302 Filed: 11/01/21 Page 1 of 6 PageID #:2846




                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

UNITED STATES OF AMERICA
                                               No.   18 CR 696
                   v.
                                               Hon. John Robert Blakey
ASHRAF AL SAFOO,
 a/k/a Abu Al’-Abbas Al-Iraqi,
 a/k/a Abu Shanab,
 a/k/a Abbusi


                          JOINT PRE-TRIAL MEMORANDUM

      The United States of America, by and through its attorney, JOHN R.

LAUSCH, JR., United States Attorney for the Northern District of Illinois, and

defendant ASHRAF AL SAFOO, through his attorneys THOMAS ANTHONY DURKIN

and JOSHUA G. HERMAN, as follows hereby respectfully submits the Pre-Trial

Memorandum.

      1.     Trial Attorneys

      The government will be represented by Assistant United States Attorneys

Barry Jonas and Melody Wells, and Department of Justice Trial Attorney Alexandra

Hughes.

      The defendant will be represented by Thomas A. Durkin and Joshua G.

Herman

      2.     Case Statement

      Defendant Ashraf al Safoo has been charged with: conspiracy to provide

material support, specifically services, to the foreign terrorist organization, ISIS,


                                         1
   Case: 1:18-cr-00696 Document #: 302 Filed: 11/01/21 Page 2 of 6 PageID #:2847




through his participation in the Khattab Media Foundation; conspiracy to knowingly

and willfully transmit threats in interstate commerce; conspiracy to access a

protected computer without authorization; accessing a protected computer without

authorization; providing services to ISIS through accessing a protected computer; and

providing material support to ISIS, specifically money. The defendant has pled not

guilty to the charges.

      3.     Trial Length

      As described below, the parties expect to agree on a number of stipulations.

Based on that expectation, the parties anticipate the trial lasting approximately two

weeks.

      4.     Agreed Exhibits and Factual Stipulations

      The parties are currently discussing the government’s proposed testimonial

stipulations and will submit stipulations once finalized. The proposed stipulations

primarily apply to business records, the search of electronic devices, and translations.

      The government anticipates presenting, in an organized manner, a large

volume of exhibits. On October 28, 2021, the government made available to the

defense the majority of the anticipated exhibits and will provide the Court with a list

of the agreed exhibits once finalized. The defense is currently reviewing the

government’s exhibits. The defense anticipates that many of its potential exhibits will

be included in the exhibits identified by the government.

      5.     Witnesses

             The government anticipates calling the following witnesses:


                                          2
   Case: 1:18-cr-00696 Document #: 302 Filed: 11/01/21 Page 3 of 6 PageID #:2848




      1) Aaron Zelin – expert witness

      2) FBI Online Covert Employee (“OCE”)

      3) Yasir al Anzi

      4) A representative of Twitter

      5) Austin Varga – FBI Special Agent

      6) Briahna Winter – FBI employee

             If stipulations cannot be agreed upon, the government may call the

         following witnesses:

      1) A representative(s) of the Government of Sweden

      2) Ryan Rainey - Regional Computer Forensic Lab

      3) A representative of SITE

      4) A custodian of records from Microsoft

      5) An FBI linguist

      6) Multiple FBI agents regarding items found during the execution of search
         warrants.

      At this point, the defense may or may not call the following witnesses:

      1) Ashraf Al Safoo

The defense is continuing to investigate and contact Iraqi witness(es) related to

government witness Yasir al Anzi. Many of these witnesses have been identified in

defense pretrial pleadings related to the Rule 15 issues.




                                         3
   Case: 1:18-cr-00696 Document #: 302 Filed: 11/01/21 Page 4 of 6 PageID #:2849




      6.      Exhibit List

      Attached to this memorandum is the government’s preliminary exhibit list. Per

the Court’s order (R. 300), the government will provide marked exhibits to the

defendant by November 19, 2021, and a flash drive with the exhibits to the Court by

December 6, 2021, at 9:30 a.m. As noted above, the defense is currently reviewing the

government’s exhibit list and anticipates that many of its exhibits will be

encompassed in the government’s exhibits.

      7.      Motions in Limine

      a)      The government may file, at the request of Twitter, a Motion in Limine

requesting certain protective measures regarding Twitter’s proprietary information.

      b)      Although not a Motion in Limine, the government anticipates filing a

Motion for a Protective Order pertaining to the testimony of the FBI OCE. This

motion will consist of an unclassified motion and a classified addendum.

      c)      The defense may file a Motion in Limine regarding the admission of the

hard drive seized by Swedish authorities that the government has identified as

“Abuzulaikha Hard Drive,” Exhibit 800. The defense may also file a Motion in Limine

concerning the admission of purported co-conspirator statements, pending the

Court’s ruling on the government’s forthcoming Santiago proffer. The defense is

investigating other potential Motions in Limine based on the ongoing review of the

government’s recently disclosed preliminary exhibit list.

      8.      Jury Selection Questions

           Not applicable.


                                         4
   Case: 1:18-cr-00696 Document #: 302 Filed: 11/01/21 Page 5 of 6 PageID #:2850




       9)      Proposed Instructions

       The parties propose the following jury instructions from the Seventh Circuit

Pattern Instructions: 1

       4.09 Attempt

       4.10 Definition of Knowingly

       5.08(B) Conspiracy – No Overt Act Required (Count One)

       5.08(A) Conspiracy – Overt Act Required (Counts Two & Three)

       5.09 Conspiracy – Definition of Conspiracy (Counts One, Two & Three)

       5.10 Conspiracy – Membership in Conspiracy (Counts One, Two & Three)

       18 U.S.C. § 1030(a)(2)(C) – Obtaining Information by Unauthorized Access of
       a     Computer – Elements (Counts Four, Six, Eight & Ten)

       18 U.S.C. § 1030(e)(1) – Definition of “Computer” (Counts Four, Six, Eight &
       Ten)

       18 U.S.C. § 1030(e)(2) – Definition of “Protected Computer” (Counts Four, Six,
       Eight & Ten)




       1Because this is a bench trial, the parties have focused on the instructions that pertain to the
elements of the offenses.
                                                  5
   Case: 1:18-cr-00696 Document #: 302 Filed: 11/01/21 Page 6 of 6 PageID #:2851




      In addition to the proposed pattern jury instructions, the parties propose the

attached instructions that pertain specifically to Counts Five, Seven, Nine, Eleven

and Twelve. A verdict form is also attached.

      The parties may wish to file additional proposed instructions at a later date.

                                       Respectfully submitted,
                                       JOHN R. LAUSCH, JR.
                                       United States Attorney

                                By:    /s/Barry Jonas
                                       BARRY JONAS
                                       MELODY WELLS
                                       Assistant United States Attorneys
                                       219 South Dearborn Street, 5th Floor
                                       Chicago, Illinois 60604

                                       ALEXANDRA HUGHES
                                       Trial Attorney
                                       Department of Justice
                                       National Security Division
                                       950 Pennsylvania Ave.
                                       Washington, D.C.

                                       /s/Thomas Anthony Durkin
                                       THOMAS ANTHONY DURKIN
                                       Durkin & Roberts
                                       The Rookery Building
                                       209 S. LaSalle St., Suite 950
                                       Chicago, IL 60604
                                       Attorney for Defendant

                                       /s/Joshua G. Herman
                                       JOSHUA G. HERMAN
                                       Law Office of Joshua G. Herman
                                       53 West Jackson Blvd., Suite 404
                                       Chicago, IL 60604
                                       Attorney for Defendant


      Dated: November 1, 2021



                                         6
